Case 2:01-RERCOGR1+KeBidN THOCUMent 55 Filed 07/19/06 Pade. oitsiage ID: 139.
Windsor Campanies : Ap file ee f"
1971 Throckmorton Street Me ade é he pb Cad Ef peti df

Freehold, NJ 07728

Assignment of Judgment

FOR GOCD AND VALUABLE CONSIDERATION, the receipt and adequacy
of which is hereby acknowledged, Cherokee Resolutions, Inc., formerly known as
Cherokee Solutions, Inc., P.O. Box 6357, East Brunswick, NJ 08816 (“ASSIGNOR"}
hereby grants, assigns, lransfers and conveys to Windsor Asset Management,
Inc., 191 Throckmorton Street, Freehold, NJ] 07/28, its successors and assigns
C ASSIGNEE"), without recourse, all of its right, title and interest in and to that
certain Judgment entered on January 2, 2001, by the United States District Court
for the Southern District of New York, in the action entitled Cityscape Corp. v.
Walsh Securities Corp., in Civil Action No. 98-0223(SHS), granting judgment in
favor of plaintiff and egainst defendant in the amount of $4,732,568.93.

This Assignment of Judgment shail be binding on the ASSIGNOR and
ASSIGNEE and their respective successors and assigns.

This Assignment of Judgment is without recourse to ASSIGNOR in any
manner whatsoever. |

This Assignment of Judgment is made in accordance with and subject to the
terms of a certain Assct Sale Agreement. between the ASSIGNOR and ASSIGNEE
dated as of February 7, 2006,

IN WITNESS WHEREOF, the undersigned has executed this Assignment of
Judgment on this 8" day of February, 2006.

ATTEST Cherokee Resolutions, Inc.

“Name “Charlotte Cohen, President

CORPORATE ACKNOWLEDGMENT

STATE OF NEW JERSEY
: 5.8.2
COUNTY OF MIBDLESEX

Be it remembered, that on this 2! day of February, 2006, before me, the subscriber, in and
for said county, personally appeared Charlotte Cohen, who, I am satisfied ig the person who
assigned Ihe within instrument as the President of Cherokee Resolutions, Inc., formerly known as
Cherokee Solutions, Inc, and delivered the same as such officer aforesaid, and that the within
instrument is the voluntary acl and deed of such corporalion, made by virtue of a Resolution of its
Board of Directors,

Witnesseth my hand and seal,

iad ae, ff pee a oe oe
Mara Marquez, Notary Public _}
My commission expires: \

MARIA G MARQUEZ
NOTARY PUBLIC OF NEW JERSEY
My Comwniesion Expires Dec. 13, 16

